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                            Exhibit 10
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Sat, Apr 27, 2024 at 10:30 AM
  Subject: BruinALERT: Campus Activity Updates (Saturday, April 27th)
  To:                                  <                                     >

  BruinALERT: Regular campus activities continue uninterrupted by the encampment
  demonstration that formed early Thursday, April 25, and remains in Royce Quad today. To
  date, the activity has been mostly peaceful. Our active monitoring of this situation continues
  to support a safe and peaceful campus environment that respects our entire community’s
  right to free expression while minimizing disruption to our teaching and learning mission.

  Safety personnel in Student Affairs Mitigators (SAMs) and Public Safety Aides (PSAs)
  uniforms are around the encampment site, and CSC security teams are also located
  throughout campus. While in the area, you may also hear helicopter activity that is
  associated with the news media covering the demonstration.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                       SHEMUELIAN DECLARATION EXHIBIT 10
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